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14
15                    UNITED STATES DISTRICT COURT
16              FOR THE SOUTHERN DISTRICT OF CALIFORNIA
                                (San Diego)
17
18 AL OTRO LADO, Inc., et al.,              Case No. 3:17-cv-02366-BAS-KSC
19                          Plaintiffs,     DECLARATION OF ALEXANDER J.
20                                          HALASKA
                      v.
21
22 Chad F. WOLF, Acting Secretary of
   Homeland Security, in his official
23
   capacity, et al.,
24
25                         Defendants
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27
28
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1                   DECLARATION OF ALEXANDER J. HALASKA
2          Pursuant to 28 U.S.C. § 1746, I, Alexander J. Halaska, declare as follows:
3          1.      I am a trial attorney for the U.S. Department of Justice. I represent the
4    federal government Defendants in their official capacities in the above-captioned
5    matter. I am a member in good standing of the bar of the State of Illinois, and I am
6    authorized to practice in the U.S. District Court for the Southern District of
7    California pursuant to Local Civil Rule 83.3(c)(3). I make this declaration in support
8    of Defendants’ Opposition to Plaintiffs’ Motion for Clarification of the Preliminary
9    Injunction.
10         2.      On June 2, 2010, and June 12, 2020, the parties met and conferred by
11   telephone regarding Plaintiffs’ Motion. On June 12, Plaintiffs’ counsel stated that
12   they had undertaken “extensive” efforts to identify provisional class members,
13   including circulating a flyer in six indigenous languages in shelters in certain
14   countries outside of the United States.
15   Exhibits
16         3.      Attached hereto as Government Exhibit 1 is a true and accurate copy
17   of an email sent by Ashley B. Caudill-Mirillo, Deputy Chief, Asylum Division, U.S.
18   Citizenship and Immigration Services (USCIS), on March 16, 2020.
19         4.      Attached hereto as Government Exhibit 2 is the declaration of Ashley
20   B. Caudill-Mirillo, Deputy Chief of USCIS’s Asylum Division.
21         5.      Attached hereto as Government Exhibit 3 is the declaration of Jill W.
22   Anderson, General Counsel, Executive Office for Immigration Review (EOIR).
23         6.      Attached hereto as Government Exhibit 4 is the declaration of Adam
24   V. Loiacono, Deputy Principal Legal Advisor for Enforcement and Litigation, U.S.
25   Immigration and Customs Enforcement (ICE).
26         7.      Attached hereto as Government Exhibit 5 is a true and accurate copy
27   of an email sent by Joseph P. Laws, Unit Chief, Domestic Operations – West,
28   Enforcement and Removal Operations, ICE, on December 8, 2019.


                                                1            DECL. OF ALEXANDER J. HALASKA
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1          8.     Attached hereto as Government Exhibit 6 is a true and accurate copy
2    of a broadcast email sent on behalf of Peter Berg, ERO Assistant Director, Field
3    Operations, ICE, on March 16, 2020.
4          9.     Attached hereto as Government Exhibit 7 is the declaration of Jay
5    Visconti, Director, STAT Division, Operations Support, U.S. Customs and Border
6    Protection (CBP).
7          10.    Attached hereto as Government Exhibit 8 is a true and accurate copy
8    of the May 5, 2020 order issued by the immigration judge in the Matter of A.N.A.
9          11.    Attached hereto as Government Exhibit 9 is a true and accurate copy
10   of the May 11, 2020 order issued by the immigration judge in the Matter of A.N.A.
11         12.    Attached hereto as Government Exhibit 10 is a true and accurate copy
12   of the May 5, 2020 order of the immigration judge in the Matter of E.T.M.
13         13.    Attached hereto as Government Exhibit 11 is a true and accurate copy
14   of the May 11, 2020 order of the immigration judge in the Matter of E.T.M.
15         14.    Attached hereto as Government Exhibit 12 is a true and accurate copy
16   of the June 30, 2020 order of the immigration judge in the Matter of M.M.M.
17         15.    Attached hereto as Government Exhibit 13 is a true and accurate copy
18   of the May 5, 2020 order of the immigration judge in the Matter of R.N.
19         16.    Attached hereto as Government Exhibit 14 is a true and accurate copy
20   of the May 20, 2020 order of the immigration judge in the Matter of R.N.
21         17.    Attached hereto as Government Exhibit 15 is a true and accurate copy
22   of the February 13, 2020 order of the immigration judge in the Matter of F.S.S.,
23   provided to me by Plaintiffs’ counsel on April 20, 2020.
24         18.    Attached hereto as Government Exhibit 16 is a true and accurate copy
25   of the March 17, 2020 order of the immigration judge in the Matter of F.S.S.,
26   provided to me by Plaintiffs’ counsel on April 20, 2020.
27         19.    Attached hereto as Government Exhibit 17 is a true and accurate copy
28   of the March 13, 2020 notice of appeal filed by the respondent in the Matter of F.S.S.


                                               2            DECL. OF ALEXANDER J. HALASKA
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1          20.    Attached hereto as Government Exhibit 18 is a true and accurate copy
2    of the April 13, 2020 notice of appeal filed by the responded in the Matter of F.S.S.
3          21.    Attached hereto as Government Exhibit 19 is a true and accurate copy
4    of the June 3, 2020 order of the immigration judge in the Matter of M.T.A.
5          22.    Attached hereto as Government Exhibit 20 is a true and accurate copy
6    of the June 10, 2020 filing of the Department of Homeland Security in the Matter of
7    M.T.A.
8          23.    Attached hereto as Government Exhibit 21 is a true and accurate copy
9    of the June 11, 2020 filing of the Department of Homeland Security in the Matter of
10   M.T.A.
11         24.    Attached hereto as Government Exhibit 22 is a true and accurate copy
12   of the June 15, 2020 order of the immigration judge in the Matter of M.T.A.
13         25.    Attached hereto as Government Exhibit 23 is a true and accurate copy
14   of the July 8, 2020 order of the immigration judge in the Matter of M.T.A.
15
16         I declare under penalty of perjury that the foregoing is true and accurate to the
17   best of my knowledge. Executed on August 3, 2020, in Washington, D.C.
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19                                                 /s/ Alexander J. Halaska
20                                                 ALEXANDER J. HALASKA
                                                   U.S. Department of Justice
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                                               3            DECL. OF ALEXANDER J. HALASKA
                                                               Case No. 3:17-cv-02366-BAS-KSC
